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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                                No. 1:16-cv-08637


This Document Relates To: All Cases                       Honorable Thomas M. Durkin
                                                          Magistrate Judge Jeffrey T. Gilbert




                STIPULATION AND [PROPOSED] ORDER REGARDING
                    BRIEFING FOR THE RESPECTIVE CLASSES’
                      MOTIONS FOR CLASS CERTIFICATION


       The three respective prospective plaintiff classes—specifically, the Direct Purchaser

Plaintiffs, the Commercial and Institutional Indirect Purchaser Plaintiffs, and the End User and

Consumer Plaintiffs—and the Defendants in the above-captioned case, through their respective

counsel of record, stipulate to the following regarding briefing regarding plaintiffs’ forthcoming

Motions for Class Certification, subject to approval by the Court.

       1.      Each of the three respective prospective plaintiff classes will submit their own

Motion for Class Certification, with a page limit of 45 pages per brief.

       2.      Defendants will submit a joint Opposition to each of the Motions for Class

Certification, with a page limit of 60 pages per brief.

       3.      Each of the three respective prospective plaintiff classes will submit Replies in

Support of their Motions for Class Certification, with a page limit of 40 pages per brief.

       4.      The parties agree to comply with this Stipulation pending the Court’s approval.




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                     [SIGNATURE BLOCKS FOR CLASSES

                AND DEFENDANTS LIAISON COUNSEL BELOW]



     IT IS SO ORDERED:



DATED: ________________


                                    HONORABLE THOMAS M. DURKIN
                                    UNITED STATES DISTRICT JUDGE




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Dated: October 15, 2020

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                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on October 15, 2020, a true and

correct copy of the foregoing was electronically filed by CM/ECF, which caused notice to be

sent to all counsel of record.

                                            By      /s/ Shana E. Scarlett
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